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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                        SAN ANTONIO DIVISION

    LENNAR HOMES OF TEXAS LAND AND                                   §
    CONSTRUCTION, LTD.,                                              §
                                                                     §
                       Plaintiff,                                    §
                                                                     §
    v.                                                               §
                                                                     §
    CITY OF CIBOLO, MAYOR STOSH                                      §         CIVIL ACTION NO.
    BOYLE, COUNCILMEMBER T.G.                                        §         5:22-cv-00311-JKP-RBF
    BENSON, COUNCILMEMBER STEVE                                      §
    QUINN, COUNCILMEMBER REGGIE                                      §
    BONE, COUNCILMEMBER KATIE                                        §
    CUNNINGHAM, COUNCILMEMBER                                        §
    MARK ALLEN and COUNCILMEMBER                                     §
    JOEL HICKS, each in their official and                           §
    individual capacities,                                           §
                                                                     §
                       Defendants.                                   §

                  PLAINTIFF'S EMERGENCY APPLICATION FOR TEMPORARY
                    RESTRAINING ORDER AND PRELIMINARY INJUNCTION

            Plaintiff, Lennar Homes of Texas Land and Construction, Ltd. ("Lennar"), files its

Emergency Application for Temporary Restraining Order and Preliminary Injunction (the

"Application"), and in support thereof states the following:

                                                I.        INTRODUCTION1

            1.        This lawsuit arises from a municipality's erroneous decision to prevent the timely

development of Lennar's land located outside of the City of Cibolo, Texas ("City"), and its lawful

sale of homes to the public. This delay is due solely to sanitary sewer issues. The City does not

have the legal authority to regulate, provide or control sanitary sewer service to Lennar's property

because Lennar's property is located in the State of Texas' certificate of convenience and necessity


1   The Declaration of Richard Mott is attached hereto and incorporated herein ("Declaration").

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of Green Valley Special Utility District ("GVSUD") service area. Under Texas law, the City has

no authority or ability to regulate sanitary sewer service to the property. There is no dispute that

Lennar will eventually build houses on all of the lots in its development. The only legal issue is

whether or not the City can delay the completion of these houses and occupancy by homebuyers

by imposing new sanitary sewer rules late in the development process. Lennar is requesting the

Court to enjoin the City and/or the members of the City Council from unlawfully interfering in the

development of Lennar's land and to command the City and/or Planning and Zoning Commission

("P&Z") to approve and record the final plat for Unit 1 of its development.

                              II.     FACTUAL BACKGROUND

       2.      Lennar owns a large tract ("Property") located in the extraterritorial jurisdiction

("ETJ") of the City. The City has platting authority in its ETJ.

       3.      On September 28, 2021, the Cibolo City Council approved a land study submitted

by Lennar for the Cibolo Farms project ("Project") which is the first permit in the series of permits

for its residential development pursuant to Chapter 245, Tex. Loc. Gov't Code. One of the

conditions to City approval was that no sewer pump and haul would be allowed under TLGC

212.010(a)(2) and (4) and UDC 19.8(b). Lennar agreed to this condition because it has decided to

not go vertical with construction of houses until a permanent sanitary sewer system is in place.

However, it is necessary that the preliminary plat be approved in order to commence horizontal

development of the subdivision.

       4.      A major bone of contention for the City has been the providing of centralized

sanitary service in its ETJ. The State's sewer certificate of convenience and necessity ("CCN") for

the Property is owned solely by GVSUD. As the CCN owner, GVSUD is the only governmental

entity that can provide sewer service to the Property. A true and correct copy of the City's

wastewater segment of its current comprehensive plan is attached as Exhibit A to the Declaration.

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It does not show any plans for the City to provide sanitary sewer service to the Property in the

future.

          5.   On or about August 18, 2021, Lennar and GVSUD entered into the Green Valley

Special Utility District Wastewater Non-Standard Service Agreement ("Service Agreement"). A

true and correct copy of the Service Agreement is attached as Exhibit B to the Declaration. Under

the Service Agreement, GVSUD will extend its collection system to handle wastewater disposal

from the Project. These improvements will be completed by December 2022.

          6.   By enacting Chapter 13 of the Texas Water Code, the Texas Legislature established

a system limiting the number of utility providers for a particular geographical area. The City is

preempted by statute from regulating sanitary sewer service in this area. According to Chapter 13

Green Valley is solely authorized to provide sanitary sewer service to the Property. Sewer

providers are obligated to provide service within their own CCN boundaries. Allen v. Park Place

Water, Light & Power Co., 266 S.W. 219, 222 (Tex. App. 1924, writ ref'd).

          7.   According to the City's subdivision ordinance, the next permit in the series of

permits for a development project is the preliminary plat. On or about September 8, 2021, the City

Planning and Zoning Commission ("P&Z") recommended approval of the Preliminary Plat for

Cibolo Farms Unit 1 by a vote of 3-1. A true and correct copy of the Preliminary Plat is attached

as Exhibit C to the Declaration.

          8.   The City Council voted at its September 28, 2021 meeting to deny the Preliminary

Plat by a 4-2 vote for solely sanitary sewer reasons. Lennar's council Buck Benson forwarded the

correspondence attached as Exhibit D to the Declaration pursuant to § 212.0093, Tex. Loc. Gov't.

Code requesting that the City Council reconsider its vote.




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       9.      At the City Council's October 26, 2021 meeting. The City Council approved a final

plat application on a tract owned by Meritage which is in close proximity to the Lennar Project.

Meritage will be utilizing pump and haul until Green Valley's permanent sanitary sewer system is

extended to this area. The City expressed concerns about Meritage's temporary use of pump and

haul but still approved the final plat. A true and correct copy of Meritage's approved final plat is

attached as Exhibit E to the Declaration.

       10.     The recommendations by the City staff with authority to confirm the Preliminary

Plat compliance with City ordinance are as follows:

       Staff Recommendation:

       The proposed Preliminary Plat complies with requirements of the UDC and has received
       all letters of certification from the reviewing entities: Planning, Engineering, Public
       Works, Fire Marshal and Utilities. Staff therefore recommends approval of the Preliminary
       Plat of Cibolo Farms Unit 1.

       City Engineer Recommendation:

       The City Engineer has determined that the proposed Preliminary Plat complies with the
       requirements of the UDC and recommends approval as outlined within the attached letter.

       11.     After the September 28 City Council meeting Lennar provided information and

documents to the City related to the progress of the GVSUD construction project as stated in the

Declaration.

       12.     On March 22, 2022 the City Council voted 7-0 to deny the Preliminary Plat of

Cibolo Farms Unit 1. The stated reason for the denial was lack of sanitary sewer capacity.

       13.     Section 212.005 of the Texas Local Government Code provides that the municipal

authority responsible for approving plats "must approve" a plat that satisfies all applicable

technical requirements. Tex. Loc. Gov't Code § 212.005. A plat application shall be approved

within 30 days after submittal. Id. § 212.009. If the applicant complies with all existing valid

requirements, the issuance or conditioning of a building permit, plat, or development permit

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becomes a mere ministerial duty. City of Stafford v. Gullo, 886 S.W.2d 524 (Tex.App.–Houston

[1st Dist.] 1994, no writ). Rhodes v. Shapiro, 494 S.W.2d 248 (Tex. Civ. App. – Waco 1973, no

writ).

         14.   Despite the City staff's confirmation that Lennar's Preliminary Plat complied with

all subdivision ordinance requirements and Lennar had foregone the pump and haul option the

City Council voted to unanimously deny the Preliminary Plat due to "lack of permanent sewer

service." Pursuant to the City's subdivision ordinance Lennar is unable to commence preparing

infrastructure construction plans for its Project due to the Council's denial. This will delay the

development of Lennar's subdivision and its construction of new houses for the Project.

         15.   Lennar owns another property, "Grace Valley," that is adjacent to the Meritage

property and within 660 feet of the Lennar Property. Grace Valley is also inside the ETJ of Cibolo.

Grace Valley is also on the same future sanitary sewer line as Meritage and the Property. The City

of Cibolo approved a preliminary plat with no limitations for Grace Valley.

         16.   Lennar cannot proceed to final plat and infrastructure construction unless the

Preliminary Plat is approved. Due to the uncertainty caused by the City's delay in approving the

Preliminary Plat, Lennar is unable to proceed to development of the Property and building homes.

The homebuilding industry is very competitive. Potential customers will likely go elsewhere to

satisfy their housing needs, and Lennar will be unable to benefit from existing market conditions

which served as the primary basis of its decision to purchase the Property in the first place.

Furthermore, GVSUD refuses to install water meters until the Final Plat is approved and recorded.

                           III.    ARGUMENTS & AUTHORITIES

         17.   To obtain a temporary restraining order and/or a preliminary injunction, the movant

must demonstrate: (1) a likelihood of success on the merits; (2) a threat of irreparable injury if the

injunction is not issued; (3) that the threatened injury if the injunction is denied outweighs any

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harm that will result if the injunction is granted; and (4) that the grant of an injunction will not

disserve the public interest. See Winter v. NRDC, Inc., 555 U.S. 7, 20 (2008); and Janvey v.

Alguire, 647 F.3d 585, 595 (5th Cir. 2011). Lennar is asking the Court to prevent the City from

slowing down or preventing the development of the Property and to command the City to approve

and record the Final Plat. Injunctive relief is warranted because all of these requirements are

satisfied in this action. In a similar case, an order concerning Entry of Preliminary Injunction was

entered against the City of Cibolo by Judge Fred Biery in Civil Action No. SA-21-CV-755-FB.

A.     Lennar is Likely to Prevail on the Merits of its Claim

       18.     To satisfy the element of likelihood of success on the merits, Lennar is not required

to prove its entitlement to judgment. Nor is it required to "prove its case with absolute certainty."

Nexstar Broadband Group, Inc. v. Lammers, No. 3-09-cv-0953-K, 2008 WL 2620098, at *4 (N.D.

Tex. June 27, 2008). Instead, a "reasonable probability of success, not an overwhelming likelihood

is all that need be shown for preliminary injunctive relief." Id., and Janvey, 647 F.3d at 595; see

also Charles Alan Wright, Arthur R. Miller, Mary Kay Kane, 11A FEDERAL PRACTICE &

PROCEDURE § 2948.3 (3d ed. 2013) ("All courts agree that plaintiff must present a prima facie case

but need not show a certainty of winning." (footnote omitted)). Lennar is requesting relief similar

to a mandatory injunction to order the City to approve the Preliminary Plat.                    Marlyn

Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571 F.3d 873, 879 (9th Cir. 2009).

       19.     Lennar has filed suit alleging causes of action for declaratory judgment, denial of

equal protection, denial of due process, and regulatory taking. The City's only given reason to

deny the plat application was based upon sanitary sewer concerns for land not located within the

Cibolo city limits, and based on conditions that were never articulated or required. As a matter of

law GVSUD as the sole CCN holder is the only governmental entity allowed to provide or regulate



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sanitary sewer service to the Property. The City has no legal rights to deny a plat application based

upon sanitary sewer issues.

       20.     Under Texas law, a city's discretion to approve or deny a development permit such

as a plat is much more limited than a zoning request. When the permit applicant "has done all that

the statutes and law demands," the approval of the permit "becomes a mere ministerial duty . . . ."

Howeth Invs., Inc. v. City of Hedwig Village, 259 S.W.3d 877 (Tex. App.—Houston [1st Dist.]

2008, pet. denied); City of Corpus Christi v. Unitarian Church of Corpus Christi, 436 S.W.2d 923,

927 (Tex. Civ. App.—Corpus Christi 1968, writ ref'd n.r.e.). In issuing and conditioning building

permits, site plans and plat approval, the City is purely an administrative agent and cannot exercise

any independent discretion. If the application complies with all existing valid requirements, the

issuance or conditioning of a building, plat, or development permit becomes a mere ministerial

duty. See Rhodes v. Shapiro, 494 S.W.2d 248 (Tex. Civ. App.—Waco 1973, no writ); 1 Yokley,

Municipal Corporations 163-164 (1956).         Because the plat meets all valid city and state

requirements, it must be approved. See Anderson v. City of Seven Points, 806 S.W.2d 791, 793

(Tex. 1991).

       21.     Lennar has also pled a U.S. Constitutional regulatory takings claim. The City has

clearly deprived Lennar of its reasonable investment-backed expectations. If plaintiffs "show that

a constitutional rights claim is likely to succeed, the remaining preliminary injunction factors

weigh in favor of granting an injunction." Vivid Entm't, LLC v. Fielding, 956 F. Supp. 2d 1113,

1136 (C.D. Calif. 2013). For these and the previously stated reasons, Lennar has established a

reasonable probability to succeed on the merits of its causes of actions against the City because

the City and the individual councilmembers lack authority to prevent the development of the




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Lennar Property pursuant to the plat, and the City clearly has deprived Lennar of its

constitutionally protected property interests.

B.      Lennar Faces a Substantial Threat of Irreparable Injury if Injunctive Relief is Not
        Granted

        22.     To show irreparable injury, a party need only show a "significant threat of injury

from the impending action, that the injury is imminent, and that money damages would not fully

repair the harm." Humana, Inc. v. Avram A. Jacobson, M.D., P.A., 804 F.2d 1390, 1394 (5th Cir.

1986). It is well-established that an injury is irreparable "if it cannot be undone through monetary

remedies" or for which monetary damages would be "especially difficult to calculate." See Dennis

Melancon, Inc. v. City of New Orleans, 703 F.3d 262, 279 (5th Cir. 2012) and Heil Trailer Int'l

Co. v. Kula, 542 Fed. Appx. 329, 335 (5th Cir. 2013). Injury to reputation or goodwill may

constitute irreparable harm because it is not easily measurable in monetary terms. Heil Trailer,

542 Fed. App. at 335; see also, Rogers Group, Inc. v. City of Fayetteville, 629 F.3d 784, 789-90

(8th Cir. 2010)(loss of goodwill among customers supports issuance of injunction to enjoin action

by City when it lacked authority to regulate).

        23.     Lennar has alleged that its property rights have been wrongfully taken by the City

in violation of the Fifth and Fourteenth Amendments to the U.S. Constitution. Similarly, Lennar's

constitutionally protected due process and equal protection rights have been deprived. According

to the case law, "the deprivation of constitutional rights unquestionably constitutes irreparable

injury." Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012).

        24.     The purpose of a restraining order and preliminary injunctive relief is always to

prevent irreparable injury. See Canal Auth. Of State of Fla. v. Callaway, 489 F.2d 567, 576 (5th Cir.

1974). "If the currently existing status quo is causing one of the parties irreparable injury, it is

necessary to alter the situation so as to prevent the injury, either by returning to the last uncontested


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status quo between the parties . . . or by the issuance of a mandatory injunction, . . . or by allowing

the parties to take the proposed action that the court finds will minimize the irreparable injury."

Id.

       25.     Under Texas law, a preliminary plat is required in order for Lennar to proceed to

final plat and infrastructure construction followed by the Construction of homes. The home

building industry is very competitive and Lennar will likely lose customers due to delay. In

addition, Green Valley will not provide water meters to these houses without a recorded final plat.

It is well-settled that unauthorized interference with a real property interest constitutes irreparable

harm as a matter of law, given that a piece of real property is considered to be a unique commodity

for which a monetary remedy for injury is an inherently inadequate substitute. 7-Eleven, Inc. v.

Khan, 977 F. Supp. 2d 214, 234 (E.D.N.Y. 2013). Such action would further tarnish Lennar's

business reputation and the goodwill associated with its business.

       26.     Unless the City is enjoined from interfering with Lennar's rights to plat approval,

Lennar will be unable to start development of the Property and the building of houses. Lennar will

be unable to take advantage of a currently vibrant real estate market, and Lennar's harm will be

substantial and irreparable.

C.     The Threat of Injury to Lennar if Injunction is denied Outweighs any Potential Injury
       to the City if Injunction is Granted.

       27.     To determine whether an injury to Lennar outweighs any injury to the City, the

Court engages in a balancing of the conveniences and rights of the parties and a balancing of the

possible injuries to them according to how they may be affected by granting or withholding of the

injunction. Congress of Racial Equality v. Douglas, 318 F.2d 95, 97 (5th Cir. 1963).

       28.     In this case, Lennar's Property is not located in the Cibolo city limits and will not

adversely impact city residents in any way. Furthermore, Lennar has agreed not to utilize pump


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and haul which does not present a public safety issue. The City previously approved pump and

haul operations inside and outside of the components limits.

        29.     GVSUD's system expansion has been funded and centralized sanitary sewer service

will be extended to the Property by December 2022. The injunctive relief requested by Lennar

would simply allow infrastructure to be constructed and houses to be built until such time as

GVSUD's system improvements are completed.

D.      Granting Injunctive Relief serves the Public Interest

        30.     Lastly, a court must consider whether the issuance of injunctive relief serves the

public interest. The focus of the courts' public interest analysis is whether there exists some critical

public interest that would be injured by the grant of preliminary relief. Conceal City, LLC v.

Looper Law Enforcement, LLC, 2011 WL 5557421 at *8 (N.D. Tex. 2011). An injunction in this

case will not disserve the public interest. There is generally no public interest in the perpetuation

of unlawful governmental action. See League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12

(D.C. Cir. 2016), and Cook County v. McAleenan, 417 F. Supp. 3d 1008, 1029 (N.D. Ill. 2019).

An injunction will further serve the public interest by ensuring a City does not act outside its

authority to prevent the free use of property. Moreover, it cannot be said that the City's ostensible

interest is a "critical" public interest where it has historically permitted such activities, continues

to permit the practice within the City, and Lennar relied on previous approvals in deciding to

purchase the Property.

E.      No (or Minimal) Security should be Required

        31.     The Court may dispense with the requirement of security where it appears unlikely

that the defendant would incur any significant cost or damages as a result of the injunction. See

Incubus Inv., LLC v. City of Garland, 2003 WL 23095680 at *4 (N.D. Tex. 2003). The City will

not incur any cost or damages as a result of this injunction. Although Lennar is willing to post a

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bond as directed by the Court, Lennar submits that the Court should require no security, or minimal

security as a condition to the grant of injunctive relief.

        32.     Lennar hereby requests that this court enter a Temporary Restraining Order

preventing the City from illegally applying its ordinances to prevent Lennar from proceeding to

final plat and infrastructure construction drawing.

        33.     Upon appropriate further hearing of this matter, Lennar requests a Preliminary

Injunction to the same effect.

                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, Lennar Homes of Texas, LLC prays that:

        A.      the Court issue a Temporary Restraining Order, restraining the City of Cibolo, as
                well as the City's agents, representatives, employees, contracting parties, affiliates,
                and those in active concert with it or with actual knowledge of the Order from
                illegally applying its ordinances to deny the Preliminary Plat and prevent Lennar
                from proceeding to submit a final plat and infrastructure construction drawings to
                the City;

        B.      the Court sets Lennar's Application for a Preliminary Injunction for a hearing, and,
                upon hearing, the Court enters a temporary injunction enjoining the City of Cibolo,
                its agents, representatives, contracting parties, employees, affiliates, or those in
                active concert with it or with actual knowledge of the Order from illegally applying
                its ordinances to deny the Preliminary Plat and prevent Lennar from proceeding to
                submit a final plat and infrastructure construction drawings and building houses;
                and

        C.      the Court grants Lennar all other relief, legal or equitable, to which it is entitled.




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                                              Respectfully submitted,

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                                              By: /s/ Arthur J. Anderson
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                                              ATTORNEYS FOR PLAINTIFF




                              CERTIFICATE OF CONFERENCE

       I certify that I conferred with Charles Frigerio, counsel for The City of Cibolo and the other
Defendants, via email regarding the relief requested in this application. Defendants are opposed to
the requested relief and this matter is presented to the Court for consideration.


                                                      /s/ James G. Ruiz
                                                      James G. Ruiz




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                                CERTIFICATE OF SERVICE

       By signature below, I certify that a true and correct copy of this Application for Temporary
Restraining Order and Preliminary Injunction has been served by electronic service to the
following counsel for Defendants on this 27th day of April, 2022:


       Charles S. Frigerio
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                                             /s/ James G. Ruiz
                                             James G. Ruiz




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